           Case 1:14-cr-00300-SS Document 1007 Filed 10/05/21 Page 1 of 2



PROB 12A
(7/93)


                         UNITED STATES DISTRICT COURT
                                        for
                              Western District of Texas
                            Report on Offender Under Supervision

Name of Offender: Antonio Nieto                                Case Number: A-14-CR-300(8)-SS

Name of Sentencing Judicial Officer: Honorable Sam Sparks, Senior U.S. District Judge

Date of Original Sentence: June 11, 2015

Original Offense: Possession with Intent to Distribute Cocaine in violation of 21 U.S.C. §§
841(a)(1) and (b)(1)(C).

Original Sentence: Sentenced to eighty-seven (87) months’ custody to the Bureau of Prisons,
followed by three (3) years of supervised release. Special Conditions include: substance abuse
treatment; abstain from the use of alcohol and all other intoxicants; search condition; and a $100
special assessment fee (satisfied).

Type of Supervision: Supervised Release              Date Supervision Commenced: July 2, 2021

Assistant U.S. Attorney: Mark H. Marshall           Defense Attorney: Kevin W. Boyd(retained)



                                PREVIOUS COURT ACTION

None.

                              NONCOMPLIANCE SUMMARY

Violation of Standard Condition No. 7: “The defendant shall refrain from excessive use of
alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
any paraphernalia related to any controlled substances, except as prescribed by a physician.”

Nature of Non-compliance: On September 16, 2021, the offender submitted to a random drug
test. On September 27, 2021, the drug test returned from the lab positive for marijuana. Nieto
admitted to said usage.
         Case 1:14-cr-00300-SS Document 1007 Filed 10/05/21 Page 2 of 2



Antonio Nieto
Report on Offender Under Supervision
Page 2


U.S. Probation Officer Action: On September 27, 2021, this officer addressed the positive drug
test with the offender. The offender admitted to using marijuana to cope with his stress regarding
his daughter. This is the offender’s first positive drug test and was given a verbal admonishment.
He will remain on random drug testing. The offender understands that this behavior is
unacceptable while on supervision and asked for a chance to redeem himself. It is respectfully
recommended that no action be taken at this time to allow the offender to get back into
compliance. If any further violations occur, they will be reported to the Court.

                                                    Respectfully submitted,



                                                    Nickalous D. Wisner
                                                    United States Probation Officer
                                                    Date: 10/4/2021


Approved:       ______________________
                Hector J. Garcia, Supervising
                United States Probation Officer


THE COURT ORDERS:

[X] No Action

[ ] Submit a Request for Modifying the Conditions or Term of Supervision

[ ] Submit a Request for Warrant or Summons

[ ] Other



                                                    __________________________
                                                    Honorable Susan Hightower
                                                    United States Magistrate Judge

                                                          October 5, 2021
                                                    Date: _______________
